
714 N.W.2d 328 (2006)
475 Mich. 871
ENVIRONMENTAL DISPOSAL SYSTEMS, INC., Plaintiff-Appellee,
v.
Harold R. FITCH, Steven E. Chester, and Department of Environmental Quality, Defendants-Appellants, and
Sunoco Partners Marketing &amp; Terminals, L.P., Defendant-Appellee, and
Policemen &amp; Fireman Retirement System Board of Trustees, Intervening Plaintiff-Amicus Curiae.
Docket Nos. 130508-9 &amp; (65). COA Nos. 256671; 256820.
Supreme Court of Michigan.
May 30, 2006.
On order of the Court, the motion to file brief amicus curiae is GRANTED. The application for leave to appeal the November 1, 2005 judgment of the Court of Appeals is considered, and it is DENIED, because we are not persuaded that the question presented should be reviewed by this Court.
